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Vanessa R. Waldref .
Eastern District of Washington EASTERN DISTRICT OF WASHINGTON
Caitlin Baunsgard
Assistant United States Attorney MAY 10 2029
Post Office Box 1494
Spokane, WA 99210-1494 SEAN F. MCAVOY, CLERK
. . eee» DEPUTY
Telephone: (509) 353-2767 YAKIMA, WASHINGTON
UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WASHINGTON
UNITED STATES OF AMERICA,
4:22-CR-6021-SAB
Plaintiff, INDICTMENT
v. Vio.: 21 U.S.C. § 841(a)(1),
(b)(1)(B) (viii)
JORGE BALLESTEROS Possession with Intent to
Defendant. Distribute 5 Grams or More of
Actual (Pure)
Methamphetamine
(Count 1)
21 U.S.C. § 841(a)(1), (b)(1)(C)
Possession with Intent to
Distribute Fentanyl
(Count 2)
21 U.S.C. § 853
Forfeiture Allegations
The Grand Jury charges:
COUNT ONE
On or about or about April 21, 2022, in the Eastern District of Washington, the

Defendant, JORGE BALLESTEROS, knowingly possessed with the intent to

INDICTMENT-1

 
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distribute 5 grams or more of actual (pure) methamphetamine, a Schedule II
controlled substance, in violation of 21 U.S.C. § 841(a)(1), (b)(.)(B)(viii).
COUNT TWO

On or about or about April 21, 2022, in the Eastern District of Washington, the
Defendant, JORGE BALLESTEROS, knowingly possessed with the intent to
distribute a mixture or substance containing a detectable amount of N-phenyl-N-[1-(2-
phenylethyl)-4-piperidinyl] propanamide (a/k/a Fentanyl), a Schedule IT controlled
substance, in violation of 21 U.S.C. § 841(a)(1), (b)(1)(C).

NOTICE OF CRIMINAL FORFEITURE

The allegations contained in this Indictment are hereby realleged and
incorporated by reference for the purpose of alleging forfeitures.

Pursuant to 21 U.S.C. § 853, upon conviction of an offense(s) in violation of 21
U.S.C. § 841, as set forth in this Indictment, Defendant JORGE BALLESTEROS,
shall forfeit to the United States of America, any property constituting, or derived
from, any proceeds obtained, directly or indirectly, as the result of such offense(s) and
any property used or intended to be used, in any manner or part, to-commit or to
facilitate the commission of the offense(s). The property to be forfeited includes, but
is not limited to:

$3,056.92 U.S. currency;

- a.380 Ruger LCP2 handgun bearing serial number 380622160.

If any forfeitable property, as a result of any act or omission of the Defendant:

cannot be located upon the exercise of due diligence;

a.
b. has been transferred or sold to, or deposited with, a third party;

C. has been placed beyond the jurisdiction of the court;
d. __ has been substantially diminished in value; or
e. has been commingled with other property which cannot be divided

without difficulty,

INDICTMENT-2

 
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the United States of America shall be entitled to forfeiture of substitute property
pursuant to 21 U.S.C. § 853(p).
DATED this Io* day of May, 2022.

A TRUE BILL

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Vanessa R. Waldre! 6
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Caitlin Baunsgard \)

Assistant United Stat Attorney

INDICTMENT-3

 
